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\ CaSe 1 05 cv 01153 .]DT-STA Document 19 Filed 08/08/05 Page 1 of 3 Page|D 3

’ [N THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF TENNESSEE _

EASTERN DIVISION

HOLLY MOORE,
on behalf of herself and all others

similarly situated,

Plaintiffs,
Civil No.1-05-115 " "`_

V.
JURY DEMANDED

THE GILLETTE COMPANY,

Defendant.

to grant her permission to Withdraw her

Plaintiff Holly Moore moves the Co
No 4 ] Plaintiff Moore has consulted With opposing

previously filed motion to enjoin. [Doe
o the Withdrawal of that motion.

Respeetfully submitted,
PENTECOST, GLENN & RUDD, P.L.L.C.

counsel and there is no oppositio

 

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106 Stonebridge Blvd
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MOTION GRANTED
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This document entered on the docket sheet In compliance

James D. Todd
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Case 1:05-cv-01153-.]DT-STA Document 19 Filed 08/08/05 Page 2 of 3 Page|D 4

CERTIFICATE OF SERVICE
This is to certify that l served a copy of this pleading or papers in person or by mail upon

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on or before the filing date thereof
DATE: This the 22 day ofJuly, 2005 .

PENTECOST, GLENN, & RUDD, PLLC

By: % ;ji'f@/

 

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This notice confirms a copy of the document docketed as number 19 in
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Honorable J ames Todd
US DISTRICT COURT

